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                              UNITED STATES JUDICIAL PANEL
                                           on
                               MULTIDISTRICT LITIGATION


IN RE: CHARLES HAYES
FALSE IMPRISONMENT LITIGATION                                                          MDL No. 3000


                                 ORDER DENYING TRANSFER


         Before the Panel: Common plaintiff moves under 28 U.S.C. § 1407 to centralize this
litigation in the Eastern District of California or the District of Nevada. 1 This litigation consists
of three actions pending in two districts, as listed on Schedule A. Defendants in the Eastern District
of California actions 2 do not oppose the motion and prefer centralization in the Eastern District of
California. Defendants in the District of Nevada action 3 oppose centralization, and in their notice
of intent to present oral argument, state that they alternatively support centralization in the District
of Nevada.

        On the basis of the papers filed and the hearing session held, 4 we conclude that
centralization will not serve the convenience of the parties and witnesses or further the just and
efficient conduct of the litigation. The actions share common facts as to plaintiff’s allegations that
he was wrongfully held for several weeks in Clark County, Nevada, and Kern County, California,
due to a case of mistaken identity. But these three actions pending in adjacent districts involve
straightforward claims and allegations concerning a discrete time period, brought by a common
plaintiff. Plaintiff is represented by the same counsel in all actions, and defendant Kern County is
represented by the same counsel in the two actions in which it is named.

       Importantly, since plaintiff filed his Section 1407 motion, the parties met and agreed to
informally coordinate overlapping discovery and pretrial proceedings. We have emphasized that
“centralization under Section 1407 should be the last solution after considered review of all other


1
    At oral argument, plaintiff argued in favor of centralization in the District of Nevada.
2
 County of Kern (Kern County), Mario Rojas, Jocelyn Marie Wolter, Constance Jeffries, Deputy
Rhonnda Powell Boyles, and Brandy Hirell.
3
 The Las Vegas Metropolitan Police Department, Joseph Lombardo, Jennifer Wood, and Doris
Hearrington.
4
  In light of the concerns about the spread of the COVID-19 virus (coronavirus), the Panel heard
oral argument by videoconference at its hearing session of May 27, 2021. See Suppl. Notice of
Hearing Session, MDL No. 3000 (J.P.M.L. May 10, 2021), ECF No. 24.
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options.” In re Best Buy Co., Inc., Cal. Song-Beverly Credit Card Act Litig., 804 F. Supp. 2d 1376,
1378 (J.P.M.L. 2011). Among these options are voluntary cooperation and coordination among
the parties and the involved courts to avoid duplicative discovery or inconsistent pretrial rulings.
See, e.g., In re Eli Lilly & Co. (Cephalexin Monohydrate) Patent Litig., 446 F. Supp. 242, 244
(J.P.M.L. 1978); see also Manual for Complex Litigation, Fourth, § 20.14 (2004). Where, as here,
only a minimal number of actions are involved, the proponent of centralization bears a heavier
burden to demonstrate that centralization is appropriate. See In re Transocean Ltd. Sec. Litig. (No.
II), 753 F. Supp. 2d 1373, 1374 (J.P.M.L. 2010). Plaintiff has failed to meet that burden here.

          IT IS THEREFORE ORDERED that the motion for centralization of these actions is
denied.


                                          PANEL ON MULTIDISTRICT LITIGATION




                                                          Karen K. Caldwell
                                                              Chair

                                      Catherine D. Perry                 Nathaniel M. Gorton
                                      Matthew F. Kennelly                David C. Norton
                                      Roger T. Benitez                   Dale A. Kimball
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IN RE: CHARLES HAYES
FALSE IMPRISONMENT LITIGATION                                MDL No. 3000


                                  SCHEDULE A


                Eastern District of California

    HAYES v. KERN COUNTY, C.A. No. 1:19−01722
    HAYES v. ROJAS, ET AL., C.A. No. 1:20−01820

                District of Nevada

    HAYES v. LAS VEGAS METROPOLITAN POLICE DEPARTMENT, ET AL.,
        C.A. No. 2:20−02048
